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                                              UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES $F AMERICA,                                        CASE NO. 15CR1306-W
                     \

                                              Plaintiff,
                    vs.
                      I
                                                                 JUDGMENT OF DISMISSAL
ABDU TORRENTES: (2) ,
                         \


                                              Defendant.


          IT AP~EARING that the defendant is now entitled to be discharged
for the reason ~hat:
                             I
                             I

      an indictm~nt has been filed in another case against the defendant and
      the Court h~s granted the motion of the Government for dismissal of
      this case, ~ithout prejudice; or

      the Court hps dismissed the case for unnecessary delay; or
                                 I

__
 X__ the Court hfs granted the motion of the Government for dismissal, with
     prejudice; fr
                                     i
      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has                 ~een         waived, and the Court has found the defendant not
      guilty; or                     I




      the jury ha$ returned its verdict, finding the defendant not guilty;
                                         I
                                         I
                                         I

-X-   of the    offe~se(s)                      as charged in the Information:

      8:l324(a) (l)i(A) (ii) and (v) (I) - Conspiracy to Transport Aliens



             IT IS T~EREFORE ADJUDGED that the defendant is hereby discharged.


 DATED:   G'; d-I!l /1&
